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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION



IN RE EQUIFAX, INC., CUSTOMER             MDL DOCKET NO. 2800
DATA SECURITY BREACH
LITIGATION                                1:17-md-2800-TWT
                                          ALL CASES


                ORDER GRANTING THE CONSENT
              MOTION TO LIFT RESTRICTIONS ON MEDIA

      On February 1, 2018, certain plaintiffs’ counsel, pursuant to Local Rule

83.4, moved for an order permitting the use of portable computers, cellular

telephones, pagers and personal communication devices without cameras, and

electronic devices equipped with cameras, including cellular telephones, personal

digital assistances and laptop computers, to be allowed into the courthouse and

used in the courtroom before, during, and after the Hearing on Applications for

Leadership Appointments scheduled to take place on February 9, 2018, in

Courtroom 2108, 2388 Richard B. Russell Federal Building and United States

Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303-3309. Based on

all files and documents herein, that motion is GRANTED. Accordingly:
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1.   Counsel may use portable computers, cellular telephones, pagers and

     personal communication devices without cameras, and electronic

     devices equipped with cameras, including cellular telephones,

     personal digital assistances and laptop computers, to aid their

     presentation of evidence or perpetuation of the record, in accordance

     with the purposes of Local Rule 83.4.

2.   Specifically, the attorneys listed on Exhibit A hereto are permitted to

     bring in electronic devices, including one each of cellular telephones,

     and either a portable computer or electronic tablet computer, to

     Courtroom 2108 on February 9, 2018.

3.   Counsel are prohibited from taking photographs or operating

     recording devices during courtroom proceedings. Counsel shall not

     take photographs, operate tape recorders, or otherwise record

     electronically any proceeding or other occurrence in the courthouse or

     courtrooms described above.

4.   Counsel shall not operate any device outlined above in any public area

     where their operation is disruptive of any court proceeding.




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IT IS SO ORDERED, this 2nd day of February, 2018.


                             /s/Thomas W. Thrash
                            The Honorable Thomas W. Thrash, Jr.
                            United States District Court
                            Northern District of Georgia




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